        Case 2:20-cv-00208-SAB    ECF No. 25   filed 06/01/21   PageID.149 Page 1 of 2



 1                                                                        FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON
 2
 3
                                                                 Jun 01, 2021
                                                                     SEAN F. MCAVOY, CLERK

 4
 5                            UNITED STATES DISTRICT COURT
 6                      EASTERN DISTRICT OF WASHINGTON
 7
 8 DAVID GERALDS, an individual,
 9               Plaintiff,                        No. 2:20-CV-00208-SAB
10               v.
11 DOUGLAS JOHNSON; STEPHEN                        ORDER DISMISSING CASE
12 PURTELL; TOWN OF TWISP; TOWN
13 OF WINTHROP; and DOES I-X,
14               Defendants.
15         Before the Court is the parties’ Stipulated Motion to Dismiss, ECF No. 24.
16 The parties stipulate and request the Court dismiss this matter with prejudice and
17 without awarding either party attorney’s fees or costs. Pursuant to Fed. R. Civ. P.
18 41(a)(1)(A)(ii) and the joint wishes of the parties, the Court finds good cause to
19 grant the motion and dismiss this case.
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     ORDER DISMISSING CASE # 1
      Case 2:20-cv-00208-SAB     ECF No. 25    filed 06/01/21   PageID.150 Page 2 of 2



 1        Accordingly, IT IS HEREBY ORDERED:
 2        1.    The parties’ Stipulated Motion to Dismiss, ECF No. 24, is
 3 GRANTED.
 4        2.    This matter is DISMISSED with prejudice and without attorney’s
 5 fees or costs to any party.
 6        IT IS SO ORDERED. The District Court Clerk is hereby directed to file
 7 this Order, provide copies to counsel, and close the file.
 8        DATED this 1st day of June 2021.
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                                            Stanley A. Bastian
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                                        United States District Judge
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     ORDER DISMISSING CASE # 2
